                            UNITED STATES DISTRICT COURT
                                                                                     Motion GRANTED.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NORTHEAST DIVISION

UNITED STATES OF AMERICA                        )
                                                )              No. 3:03-cr-00117-3
       v.                                       )
                                                )              Judge Trauger
CLAYTON RICHARDSON                              )

                              MOTION TO CANCEL HEARING

       The United States, through United States Attorney David Rivera and Assistant United

States Attorney Brent A. Hannafan, hereby requests this Court cancel the hearing on the

superseding petition to revoke defendant’s supervised release. (Docket No. 228). The hearing is

set for July 25, 2014 at 1:30 p.m.

       The parties appeared before this Court on the pending petition on April 28, 2014. At that

time, the undersigned advised this Court that if the defendant complied with his conditions of

release until the next hearing, the United States would not seek to revoke defendant’s release.

       The undersigned has spoken with Probation Officer Illarmo regarding the defendant.

Officer Illarmo has advised that defendant has complied with his conditions since the April 28

hearing. Therefore, the United States is no longer seeking to revoke his supervised release and

the hearing set for July 25 is not necessary.

       WHEREFORE, the United States respectfully requests this Court cancel the July 25,

2014 hearing.




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